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 Littler                                                                    Littler Mendelson, P.C.
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                                                                            New York, NY 10022.3298



 February 1, 2021                                                           Eric D. Witkin
                                                                            212.497.8487 direct
                                                                            212.583.9600 main
 VIA ECF                                                                    646.417.7546 fax
 Hon. Sanket J. Bulsara                                                     ewitkin@littler.com
 United States Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

                   Re:     Kelly Irish v. Tropical Emerald LLC et al.; (EDNY - No. 18 CV 00082)

 Dear Judge Bulsara:

 We write pursuant to ¶ IV.B of your Honor’s Individual Practices and the Court’s January 11, 20
 and 27 orders to request that the Court reconsider its December 23 Order (“Order”; ECF No. 48)
 insofar as it grants Plaintiff’s motion to strike (“Motion”; ECF No. 41) Stephen Fordyce as a
 witness and two documents used to prepare Jonathan Hersch for deposition. Defendants opposed
 that Motion (“Opp.”; ECF No. 46). The stricken documents are (1) Fordyce’s October 27, 2020
 one-page memo to Hersch listing the number and capacity of merchandise racks that would need
 to be removed if the store were to create 36-inch wide aisles between all racks (which Plaintiff
 claims the ADA requires), and (2) Hersch’s October 28, 2020 calculations of the financial impact
 on Rainbow if the store removed said racks and merchandise (Opp. pp. 2-3).1 Defendants in good
 faith conferred with Plaintiff’s counsel in an attempt to resolve this dispute. Respectfully, we
 believe that the Court erred in striking the documents at issue without examining them or
 permitting and reviewing testimony about them. The Order also stated that the disclosure was
 “well after the time for fact discovery had passed” (id. 4), but the disclosure and Hersch’s
 scheduled deposition (delayed by a medical issue) pre-dated the end of discovery. Defendants
 ask the Court to reconsider the Order given the circumstances described in this application.

 Hersch was disclosed to Plaintiff in February 2020 as the replacement witness for Thomas
 Magill, Rainbow’s deceased former chief merchandising officer.2 Plaintiff noticed Hersch for
 deposition last February, but Plaintiff chose not to proceed then and did not seek his deposition
 until September (Order p. 3; Opp. p. 3).3 Hersch’s deposition was rescheduled for October 29. In
 preparing for his deposition, Hersch needed to know the quantity of racks and merchandise that
 would have to be removed to create 36-inch wide aisles that Plaintiff claims are required.
 Fordyce supplied that data in a one-page memo, (App. A D220), which Hersch used to estimate
 the revenue that would be lost if the merchandise was removed, (App. A D221-224). The
 documents were used by Hersch to prepare for his deposition and were produced the same day
 Hersch prepared his analysis, October 28, before the discovery deadline. In response, Plaintiff
 cancelled Hersch’s deposition and filed the Motion, which Defendants opposed (Opp. p. 2).

 1
   The documents are Appendix A to this letter motion; Fordyce’s memo is D220; Hersch’s redacted analysis is
 D221-224 (which has been filed under seal (see ECF No. 53, January 11 Order granting motion to seal)).
 2
   Magill, who passed away in late 2019, had been listed as a witness in Defendants’ original 2018 disclosures.
 3
   In part this was due to settlement discussions (ECF No. 33), the pandemic and then Hersch’s medical condition.



     littler.com
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 Legal Standard: Motion for Reconsideration

 To warrant reconsideration, a party must “point to controlling decisions or data that the court
 overlooked - matters, in other words, that might reasonably be expected to alter the conclusion
 reached by the court.” Local Civil Rule 6.3; Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d
 Cir. 1995). Reconsideration “should be granted [] when the defendant identifies [] ‘. . . the need
 to correct a clear error or prevent manifest injustice.’” Kolel Beth Yechiel Mechil of Tartikov, Inc.
 v. YLL Irrevocable Tr., 729 F.3d 99, 104 (2d Cir. 2013) (internal citations and quotations
 omitted). Courts may also reconsider an order where there was “mistake, inadvertence, surprise,
 or excusable neglect.” Fed. R. Civ. P. 60(b); In re Facebook, Inc., IPO Sec. & Derivative Litig.,
 43 F. Supp.3d 369, 373 (S.D.N.Y. 2014). Defendants respectfully ask the Court to reconsider its
 Order and find that the two documents and the witness should not be stricken.

         i.      The Order Erroneously Found the Evidence Was Untimely Disclosed.

 Per Rule 26(e), "[a] party who has made a disclosure under Rule 26(a)—or who has responded to
 an interrogatory, request for production, or request for admission—must supplement or correct
 its disclosure or response . . . in a timely manner . . . ." The duty to supplement applies to
 responsive documents that are created after a party has served a response to a discovery request.
 Robbins & Myers, Inc. v. J.M. Huber Corp., 274 F.R.D. 63, 76-77 (W.D.N.Y. 2011). The Order
 errs in finding that (1) the October disclosures of Fordyce and the documents were belated and
 outside of the discovery window, (Order pp. 2, 3, 5, 7), and (2) the timing of these disclosures
 was due to Defendants’ counsel’s “failure to make adequate investigation” of this case, (id. p. 3).

 The disclosure of the documents (on October 28) and Fordyce as a witness (on October 15)
 predated the close of discovery (Opp. p. 2).4 Defense counsel investigated this case and made
 disclosures per Rule 26(a) in May 2018 based on the information then known to Defendants. At
 that time, Magill was Rainbow’s chief merchandising officer and was properly disclosed (Opp.
 p. 3). Only in 2020 did Hersch replace Magill after his unfortunate passing (id.). During Hersch’s
 October 2020 deposition preparation, counsel discovered that, unlike Magill, Hersch needed
 more facts to estimate and testify about the financial impact on Rainbow of removing the
 merchandise at issue, including facts Fordyce supplied (D220 App. A). The Court’s striking of
 Fordyce and the Hersch documents is apparently based on the inaccurate assumption that defense
 counsel knew this information prior to the May 18, 2020 status conference and would have
 needed the information had Magill testified. But, that is not so, because of Magill’s death and the
 delay of Hersch’s deposition by Plaintiff until September and thereafter until October by his
 medical condition. As Defendants’ counsel’s investigation was not inadequate and the
 disclosures were not untimely, Defendants did not violate Rule 26(a)(1) (contra Order pp. 2-5).

 The cases cited by the Order are inapposite. In Faure v. Las Cruces Med. Ctr., LLC, No. 14-CV-
 559, 2017 U.S. Dist. LEXIS 150358 (D.N.M. Sep. 15, 2017), the Court precluded a witness
 because defendant knew of the witness’ relevance during fact discovery but only disclosed him
 pre-trial per Rule 26(a)(3), and found the witness should have been disclosed per Rule 26(a)(1)

 4
   On May 18, 2020, the Court set a discovery deadline of September 30. On September 15, the Court stayed
 discovery for 30 days. On October 15, the Court extended the discovery deadline until November 16.
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 as the party was aware of his relevance earlier. In Hampton v. Allstate Corp., No. 13-CV-0541,
 2014 WL 1569239 (W.D. Wash. Apr. 18, 2014), the court struck a new damages claim asserted
 two months after fact discovery closed and not previously disclosed in violation of Rule 26(a)(1).

         ii.      Rule 37 Does Not Permit Striking Evidence Disclosed During Discovery.

 The Court overlooked the controlling law Defendants submitted in their opposition, specifically,
 the law holding that Rule 37(c)(1) does not permit striking evidence when the disclosures
 occurred before the discovery deadline (Opp. p. 1, fn. 2); Emilio v. Sprint Spectrum L.P., No. 11-
 CV-3041 (JPO)(KNF), 2017 U.S. Dist. LEXIS 36924, at *14 (S.D.N.Y. Feb. 1, 2017) (denying
 motion to strike finding no prejudice where the disclosure was made during discovery); Sec. &
 Exch. Comm'n v. CKB168 Holdings Ltd., No. 13 CV 5584, 2016 U.S. Dist. LEXIS 63568, at *10
 (E.D.N.Y. May 13, 2016).5 Since the documents at issue did not exist during document
 production, and the documents and Fordyce were disclosed before the discovery deadline as soon
 as the documents were created, this evidence was stricken in error.

 The cases cited by the Order involved disclosures made on the eve of trial, years after the close
 of discovery. Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1105 (9th Cir. 2001);
 Design Strategy, Inc. v. Davis, 469 F.3d 284, 293 (2d Cir. 2006) (Order p. 3). Here, Defendants
 did not use Rule 26(a)(1) as a “loophole” as the Court suggests (Order p. 2). Rather, Defendants’
 counsel discovered during deposition preparation that the replacement for a witness who had
 died during discovery did not have all the facts his predecessor likely knew, and that he needed
 to make his estimates and refresh his recollection about them in order to testify (Opp. p. 2). The
 Order appears to overlook the factual circumstances involved here.6

 Further, the Court lacked an appropriate record to justify striking the documents. Rule 37(c)(1)
 permits striking evidence that is improperly or belatedly disclosed when a party tries to use that
 evidence “on a motion, at a hearing, or at a trial . . . .” A factor to be considered when
 determining whether to preclude evidence is the importance of the evidence sought to be
 precluded. Espiritu v. Hartman, No. 16-CV-04623 (CBA) (SJB), 2020 U.S. Dist. LEXIS 3054, at
 *18-*19 (J. Bulsara) (E.D.N.Y. Jan. 8, 2020). The Court here did not have the opportunity to
 analyze this factor, since it had not seen the documents, or know what Fordyce’s and Hersch’s
 testimony about them would be. Since the Order was based on the content of the documents and
 testimony that had not been elicited (Order p. 5), Defendants submit that the Court erred in
 preemptively striking the documents and precluding testimony without reviewing their contents.

         iii.     The Order Overlooked Plaintiff’s Deposition Notice and FRE 612.

 Plaintiff’s deposition notice to Magill required production of “any documents reviewed in
 preparation for defendant’s deposition.” (See App. B). Further, FRE 612 provides, “where a
 writing is used to refresh a witness’ memory prior to testifying …. an adverse party is entitled to

 5
   Had the depositions occurred in February or September, the need for Fordyce’s memo and Hersch’s analysis would
 have become evident and the documents would have been created and produced at that time (Opp. 3).
 6
   The Order also implies that Defendants knew of the need for the documents at the May 18, 2020 status conference
 (Order p. 2). Defendants did not know Hersch would need the Fordyce data or Hersch’s documents until he was
 preparing for deposition in October after his September deposition was delayed for medical reasons (Opp. p. 2).
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 have the writing produced at the hearing, to inspect it, to cross-examine the witness about it….”
 Magee v. Paul Revere Life Ins. Co., 172 F.R.D. 627, 637 (E.D.N.Y. 1997) (applying FRE 612 to
 deposition testimony). Hersch used Fordyce’s one page inventory to estimate the potential lost
 revenue, which he then explained in a “memo” to himself that was intended to refresh his
 recollection and prepare him for deposition. As Defendants properly produced the documents per
 the deposition notice, Rule 26, and FRE 612,7 they submit that the Court erred in striking same.

         iv.      In Error, the Court Overlooked Proof That Plaintiff Did Not Suffer Prejudice.

 The Order noted two exceptions to the rule that evidence should be excluded when a party fails
 to timely disclose same:8 (1) when the failure to disclose is substantially justified, and (2) when
 the nondisclosure is harmless (Order p. 4); see also Ritchie Risk-Linked Strategies Trading
 (Ireland) Ltd. v. Coventry First LLC, 280 F.R.D. 147, 158-59 (S.D.N.Y. 2012) (“[h]armlessness
 means an absence of prejudice”) (Opp. p. 1).9 But the Order overlooked law that preclusion is a
 "drastic remedy," and should only be imposed in rare situations where the party’s conduct
 represents flagrant bad faith and callous disregard of the Rules. Pollack v. Safway Steel Prods.,
 No. 03 Civ. 4067 (WCC), 2007 U.S. Dist. LEXIS 24746, at *14 (S.D.N.Y. Mar. 30, 2007)
 (striking witness is too harsh a penalty for belated disclosure - Court re-opened discovery for
 limited purpose) (internal citations omitted); Boyde v. Monroe Cnty., No. 08-CV-6242, 2011
 U.S. Dist. LEXIS 108452, at *10-*12 (W.D.N.Y. 2011) (preclusion not appropriate where court
 could grant a continuance by re-opening discovery). Here, the drastic remedy of preclusion is not
 warranted (Opp. p. 1). The Court based the decision to strike in part on the inaccurate assertion
 that “Fordyce was not disclosed in a timely fashion, well after the time for fact discovery had
 passed” (Order p. 4). As shown in subsection (i), Fordyce was disclosed as soon as Hersch
 discovered he needed more factual information to prepare his estimates to prepare for deposition,
 and that disclosure was made before the discovery deadline. As the documents were not
 preexisting, any prior failure to disclose them was “substantially justified.”

 The Court further found that prejudice to Plaintiff “exists aplenty” because the evidence here was
 “disclosed well after fact discovery has [sic] closed,” and that Plaintiff will incur time and
 expense of taking the deposition of another witness, which “delay, cost and a moving target of a
 defense” cannot be alleviated by a short continuance (Order p. 4). Plaintiff’s counsel is not
 prejudiced by the disclosure of Fordyce or Hersch’s notes just before Hersch’s deposition as,
 contrary to the Order’s assertions, Defendants’ defenses here have not changed, the only addition
 in Fordyce’s memo and Hersch’s analysis is that they marshal the specific data associated with
 Defendants’ economic defense. Further, Fordyce’s deposition should be brief if and limited to
 his testimony about the inventory in his one page memo. The Order thus should be reconsidered

 7
   If Defendants had withheld the documents, upon Plaintiff’s counsel asking Hersch at deposition if he had reviewed
 any documents to prepare, Hersch would have properly responded in the affirmative, and Plaintiff’s counsel would
 likely have demanded their production. Defendants then would have been subject to a possible motion to compel.
 8
   Defendants do not concede that their disclosures were untimely. See sections i-ii.
 9
   The Court of Appeals considers the following when determining whether to preclude documents/testimony: "(1)
 the party's explanation for the failure to comply with the [disclosure requirement]; (2) the importance of the
 testimony of the precluded witness[es]; (3) the prejudice suffered by the opposing party as a result of having to
 prepare to meet the new testimony; and (4) the possibility of a continuance." Design Strategy, Inc. v. Davis, 469
 F.3d 284, 296 (2d Cir. 2006) (internal quotations and citation omitted). The Order did not consider these.
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 because it overlooked the applicable law (by applying an extreme remedy of preclusion) and that
 Defendants disclosed the witness and documents before the discovery deadline as soon as they
 were created, so Plaintiff suffered no prejudice thereby (Opp. p. 2). Striking Fordyce as a witness
 now may prejudice Defendants if Plaintiff argues that Hersch should be precluded from using
 Fordyce’s data without Fordyce’s testimony. The Order is premised on an incorrect assumption
 that the documents existed prior to October 28 – the date they were produced. Rule 26(e) applies
 to documents or evidence created during the course of discovery. Robbins & Myers, Inc. v. J.M.
 Huber Corp., 274 F.R.D. 63, 76-77 (W.D.N.Y. 2011). The documents were properly disclosed
 when they were created prior to the close of discovery.

        v.      The Documents Are Not Improper Lay Witness Opinion Testimony.

 The Order erroneously characterized and struck the documents as improper lay witness opinions
 submitted in lieu of expert testimony/opinion (Order pp. 5-7). But the Court decided this based
 on documents it had not reviewed and as to which no witness had testified (Order p. 6). The
 documents are not expert testimony (App. A). They consist of (1) an inventory of racks and
 merchandise that a layperson could create by visiting the store and taking measurements; and (2)
 a basic analysis of the financial impact on the store of removing these racks and inventory (App.
 A). Contrary to the Order’s assumptions, the documents contain factual information that could be
 understood by a layperson. Interpreting United States v. Garcia, 413 F.3d 201 (2d Cir. 2005),
 relied on by the Order, courts determine whether testimony is that of a layperson after reviewing
 the testimony (and any relevant documents). United States v. Galanis, 758 Fed. Appx. 71, 74 (2d
 Cir. 2018). The Court erred in striking the documents without reviewing or allowing testimony
 about them - without this review, one cannot conclude that they are not the product of everyday
 reasoning processes. Further, the cases from other Circuits cited by the Order are inapposite. See
 A.T.O. Golden Constr. Corp. v. Allied World Ins. Co., No. 17-24223, 2018 U.S. Dist. LEXIS
 192103 (S.D. Fl. Nov. 9, 2018) (granting pre-trial motion in limine to exclude a lay witness’s
 spreadsheets and testimony because they “required a specialized understanding” and included a
 breakdown of “hundreds of line items . . . the percentage of completion, the percentages paid . . .
 the schedule of values, the [] value of work completed, and the amount paid to the
 subcontractor.”). There has been no testimony on the methods used in Hersch’s calculations and
 the analysis involved is not as complicated as that in Smith v. Sears Roebuck & Co., No. CIV-04-
 1271-HE, 2006 U.S. Dist. LEXIS 117585, at *3-*4 (W.D. Ok. Jan. 9, 2006), where the court
 reserved decision on whether to strike a non-employee witness offered to testify as a professional
 engineer to be treated via motion in limine or at trial. Here, the Court struck documents without
 reviewing them or testimony about them. The drastic remedy of striking evidence should be
 reserved for a motion in limine at trial. Defendants respectfully request that the Court grant
 Defendants’ motion to reconsider and allow Hersch and Fordyce to be deposed about the
 documents without limitation. We thank the Court for reconsidering its Order.

                                                             Respectfully,

                                                             /s/Eric D. Witkin
                                                             Eric D. Witkin
 Encls.
 cc:    All counsel of record (via ECF)
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                   Appendix A



      The unredacted version of D221-224 has been filed
      under seal and should remain under seal per the
      Court’s January 11, 2021 Order (see ECF No. 53,
      January 11, 2021 Order granting motion to seal).
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Date: 10-27-2020

To: Jonathan Hersch
Re: Irish v. Rainbow


Jonathan,
As you requested, I walked Store #19 at 493 Fulton St. Brooklyn, NY this morning.
To maintain 36" around all floor fixtures, we would need to remove the following from the sales floor.

FIRST FLOOR (Juniors clothing)
28 4-ways. (Each 4-way holds 96 garments)
9 Rounders (Each rounder holds 240 garments)

SECOND FLOOR (Plus sizes)
14 4-ways
13 Rounders

THIRD FLOOR (Shoes)
10 Shoe gondolas (Each gondola holds 80 pairs)

FOURTH FLOOR (Kids)
21 4-ways
14 rounders

The total fixture count (by floor) before removing the above mentioned quantities, were the following.

FIRST FLOOR
78 4-ways
26 Rounders

SECOND FLOOR
57 4-ways
33 Rounders

THIRD FLOOR
77 Shoe fixtures

FOURTH FLOOR
45 4-ways
39 Rounders



Best Regards
Steven Fordyce



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STORE 19
                          YTD               % to    YTD               % to       YTD            % to       YTD            % to
                          AUG 2020          Sales   AUG 2019          Sales      2019           Sales      2018           Sales




                          -------------- -------    -------------- -------    -------------- -------    -------------- -------
TOTAL STORE EXPENSES
                          -------------- -------    -------------- -------    -------------- -------    -------------- -------
NET OPERATING INCOME
                      -------------- -------        -------------- -------    -------------- -------    -------------- -------
NON-OPERATING INCOME<E
                      -------------- -------        -------------- -------    -------------- -------    -------------- -------
MANAGEMENT FEES
                      -------------- -------        -------------- -------    -------------- -------    -------------- -------
PROFIT<LOSS>
                      ========= =======             ========= =======         ========= =======         ========= =======




           CONFIDENTIAL                                                                                                 D000221
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STORE 19                                                                                     PROFORMA
confidential privileged              YTD                          YTD                          YTD                            YTD
                                     AUG 2020             % to    AUG 2019           % to      2019                % to       2018            % to
                                                          Sales                      Sales                         Sales                      Sales
-------------------------------------- -----------------------    -----------------------    ---------------   --------    -----------------------    reduction




                                     -------------- -------       -------------- -------     --------------    -------     -------------- -------
TOTAL STORE EXPENSES
                                     -------------- -------       -------------- -------     --------------    -------     -------------- -------
NET OPERATING INCOME
                      -------------- -------                      -------------- -------     --------------    -------     -------------- -------
NON-OPERATING INCOME<E
                      -------------- -------                      -------------- -------     --------------    -------     -------------- -------
MANAGEMENT FEES
                      -------------- -------                      -------------- -------     --------------    -------     -------------- -------
PROFIT<LOSS>
                      ========= =======                           ========= =======          =========== =======           ========= =======




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   Store 19 Analysis - 2019
           10/28/2020
           Year             Sales           GM$           GM%         Op. Income Inc Sales v LY Inv Inc v LY        Rent
           2019
           2018
           2017
           2016
           2015
           AVG
   Historical Turns
   2019                                                               2018                                     2017                                       2016                      2015
         Month              Sales           EOM                          Month        Sales         EOM           Month                Sales        EOM     Month     Sales   EOM      Month   Sales   EOM
           JAN                                                             JAN                                      JAN                                      JAN                        JAN
            FEB                                                            FEB                                      FEB                                      FEB                        FEB
           MAR                                                            MAR                                       MAR                                      MAR                        MAR
           APR                                                            APR                                       APR                                      APR                        APR
           MAY                                                            MAY                                       MAY                                      MAY                        MAY
           JUN                                                            JUN                                       JUN                                      JUN                        JUN
            JUL                                                            JUL                                       JUL                                      JUL                        JUL
           AUG                                                            AUG                                       AUG                                      AUG                        AUG
            SEP                                                            SEP                                      SEP                                      SEP                        SEP
           OCT                                                            OCT                                       OCT                                      OCT                        OCT
           NOV                                                            NOV                                       NOV                                      NOV                        NOV
           DEC                                                            DEC                                       DEC                                      DEC                        DEC
           JAN                                                             JAN                                      JAN                                      JAN                        JAN
          TOTAL                                                          TOTAL                                     TOTAL                                    TOTAL                      TOTAL
           Turn                                                           Turn                                      Turn                                     Turn                       Turn
        Avg. Turn
         Avg. Inv

   Proposed removal to accommodate 36" around all floor fixtures                  Current On Hand              At Projected Cuts - projected 2019
                                                                                       96763                   Sales at Avg. Turn
       First floor          QTY           Units per     Total Units              Proposed Removal              Avg inventory
   4-Ways                   28               96            2688                        15488
   Rounder                   9              240            2160                        % Cut
                                                                                       16.0%                   Sales at Avg. Turn
      Second Floor
   4-Ways                    14               96          1344
   Rounder                   13              240          3120                                                 Margin at Avg. Margin

      Third Floor
   Shoe - Gondolas           10              80            800                                                 Avg. Inventory Reduction


      Fourth Floor                                                                                             Operating Income
   4-Ways                    21               96           2016
   Rounder                   14              240           3360
                                            TOTAL         15488




CONFIDENTIAL                                                                                                                                                                                                 D000223
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2020 - YTD (through August)
 10/28/2020
Sales                         Expected Sales loss from inventory reduction
GM$                                            AVG Sales
GM%
Op Income
                                       Sales with 36" Clearance

Adj. Sales
Adj. GM$                                      Variance $
Adj. GM%
Op Income
                                              Variance %




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                    Appendix B
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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    ----------------------------------------------------------x
    KELLY IRISH,                                                    Docket: 1:18-cv-00082-
                                                                    PKC-SJB
                                            Plaintiff,
                                                                    NOTICE OF
                           -against-                                DEPOSITION

    TROPICAL EMERALD LLC AND CHAPS, INC.

                                          Defendants.
    ----------------------------------------------------------x


                                    NOTICE TO TAKE DEPOSITION

          PLEASE TAKE NOTICE that pursuant to Rule 30 of the Federal Rules of Civil
  Procedure, plaintiff will take the deposition upon oral examination of Thomas Magill from
  defendants before a Notary Public of the State of New York, or other person so qualified to act,
  at the offices of Parker Hanski LLC, beginning on May 30, 2019 at 10:00 a.m. with respect to
  evidence material and necessary in the prosecution of this action.

          PLEASE TAKE FURTHER NOTICE that Thomas Magill from defendant is required to
  produce at said deposition any and all original documents, records, reports, books, statements,
  recordings, and photographs relevant to the facts and circumstances referred to in the Complaint,
  as well as any documents reviewed in preparation for defendant’s deposition.

  DATED:           May 8, 2019
                   New York, New York


                                                         PARKER HANSKI LLC
                                                         Attorneys for Plaintiff


                                              By:               /s/
                                                         Glen H. Parker, Esq.
                                                         40 Worth Street, 10th Floor
                                                         New York, New York 10013
                                                         Telephone: (212) 248-7400
                                                         Facsimile: (212) 248-5600
                                                         Email:ghp@parkerhanski.com


  TO ALL DEFENDANTS VIA EMAIL:
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  Eric D. Witkin, Esq.
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  EWitkin@littler.com
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 8, 2019 the foregoing document entitled “Plaintiff’s Notice
  of Deposition” was served in accordance with the Federal Rules of Civil Procedure and/or the
  Southern and Eastern District’s Local Rules upon the all the attorneys for the defendants in the
  above-entitled action by electronic mail.

  DATED:         New York, NY
                 May 8, 2019



                                       By:           /s/
                                               Glen H. Parker, Esq.
